 Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 1 of 475 PageID #:2778




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARICEL MARCIAL                                )
                                               )
       Plaintiff,                              )            Case No. 1:16-cv-06109
                                               )
v.                                             )            Honorable Susan E. Cox
                                               )
RUSH UNIVERSITY MEDICAL CENTER,                )
DR. MICHAEL KREMER, in his individual          )
capacity, RAY NARBONE, in his individual       )
capacity, and JILL WIMBERLY, in her individual )
capacity,                                      )
                                               )
       Defendants.                             )

             PLAINTIFF’S EXHIBITS A15 THROUGH A27 TO REPORT OF
                  EXPERT WITNESS DR. STEVEN R. FARMILANT

       Pursuant to Federal Rule of Civil Procedure 26(a)(2)(B), and to this Honorable Court’s

August 30, 2018, Memorandum Opinion, Dkt #101, and its September 10, 2018, Minute Entry

Order, Dkt #104, Plaintiff, Maricel Marcial, by her attorneys, Elaine K.B. Siegel & Assoc., P.C.,

submits the accompanying Plaintiff’s Exhibits A15 Through A27 to Report of Expert Witness

Dr. Steven R. Farmilant.


DATED:         October 4, 2018
                                                            Respectfully submitted,

                                                            /s/ Elaine K.B. Siegel
                                                            One of Plaintiffs’ Attorneys
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 2 of 475 PageID #:2779
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 3 of 475 PageID #:2780
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 4 of 475 PageID #:2781
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 5 of 475 PageID #:2782
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 6 of 475 PageID #:2783
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 7 of 475 PageID #:2784
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 8 of 475 PageID #:2785
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 9 of 475 PageID #:2786
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 10 of 475 PageID #:2787
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 11 of 475 PageID #:2788
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 12 of 475 PageID #:2789
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 13 of 475 PageID #:2790
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 14 of 475 PageID #:2791
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 15 of 475 PageID #:2792
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 16 of 475 PageID #:2793
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 17 of 475 PageID #:2794
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 18 of 475 PageID #:2795
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 19 of 475 PageID #:2796
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 20 of 475 PageID #:2797
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 21 of 475 PageID #:2798
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 22 of 475 PageID #:2799
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 23 of 475 PageID #:2800
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 24 of 475 PageID #:2801
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 25 of 475 PageID #:2802
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 26 of 475 PageID #:2803
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 27 of 475 PageID #:2804
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 28 of 475 PageID #:2805
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 29 of 475 PageID #:2806
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 30 of 475 PageID #:2807
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 31 of 475 PageID #:2808
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 32 of 475 PageID #:2809
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 33 of 475 PageID #:2810
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 34 of 475 PageID #:2811
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 35 of 475 PageID #:2812
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 36 of 475 PageID #:2813
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 37 of 475 PageID #:2814
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 38 of 475 PageID #:2815
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 39 of 475 PageID #:2816
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 40 of 475 PageID #:2817
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 41 of 475 PageID #:2818
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 42 of 475 PageID #:2819
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 43 of 475 PageID #:2820
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 44 of 475 PageID #:2821
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 45 of 475 PageID #:2822
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 46 of 475 PageID #:2823
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 47 of 475 PageID #:2824
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 48 of 475 PageID #:2825
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 49 of 475 PageID #:2826
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 50 of 475 PageID #:2827
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 51 of 475 PageID #:2828
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 52 of 475 PageID #:2829
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 53 of 475 PageID #:2830
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 54 of 475 PageID #:2831
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 55 of 475 PageID #:2832
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 56 of 475 PageID #:2833
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 59 of 475 PageID #:2836
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 77 of 475 PageID #:2854
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 82 of 475 PageID #:2859
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 84 of 475 PageID #:2861
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 85 of 475 PageID #:2862
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 87 of 475 PageID #:2864
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 88 of 475 PageID #:2865
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 90 of 475 PageID #:2867
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 91 of 475 PageID #:2868
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 92 of 475 PageID #:2869
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 93 of 475 PageID #:2870
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 94 of 475 PageID #:2871
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 95 of 475 PageID #:2872
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 96 of 475 PageID #:2873
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 97 of 475 PageID #:2874
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 98 of 475 PageID #:2875
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 99 of 475 PageID #:2876
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 100 of 475 PageID #:2877
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 102 of 475 PageID #:2879
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 103 of 475 PageID #:2880
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 104 of 475 PageID #:2881
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 107 of 475 PageID #:2884
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 109 of 475 PageID #:2886
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 110 of 475 PageID #:2887
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 123 of 475 PageID #:2900
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 124 of 475 PageID #:2901
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 125 of 475 PageID #:2902
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 126 of 475 PageID #:2903
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 127 of 475 PageID #:2904
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 128 of 475 PageID #:2905
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 129 of 475 PageID #:2906
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 130 of 475 PageID #:2907
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 131 of 475 PageID #:2908
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 132 of 475 PageID #:2909
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 133 of 475 PageID #:2910
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 134 of 475 PageID #:2911
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 138 of 475 PageID #:2915
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 139 of 475 PageID #:2916
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 145 of 475 PageID #:2922
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 147 of 475 PageID #:2924
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 148 of 475 PageID #:2925
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 151 of 475 PageID #:2928
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 152 of 475 PageID #:2929
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 153 of 475 PageID #:2930
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 154 of 475 PageID #:2931
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 155 of 475 PageID #:2932
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 156 of 475 PageID #:2933
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 157 of 475 PageID #:2934
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 158 of 475 PageID #:2935
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 159 of 475 PageID #:2936
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 160 of 475 PageID #:2937
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 166 of 475 PageID #:2943
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 170 of 475 PageID #:2947
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 177 of 475 PageID #:2954
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 180 of 475 PageID #:2957
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 181 of 475 PageID #:2958
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 188 of 475 PageID #:2965
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 190 of 475 PageID #:2967
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 191 of 475 PageID #:2968
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 192 of 475 PageID #:2969
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 193 of 475 PageID #:2970
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 194 of 475 PageID #:2971
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 195 of 475 PageID #:2972
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 196 of 475 PageID #:2973
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 197 of 475 PageID #:2974
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 198 of 475 PageID #:2975
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 202 of 475 PageID #:2979
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 203 of 475 PageID #:2980
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 204 of 475 PageID #:2981
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 205 of 475 PageID #:2982
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 208 of 475 PageID #:2985
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 209 of 475 PageID #:2986
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 213 of 475 PageID #:2990
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 214 of 475 PageID #:2991
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 215 of 475 PageID #:2992
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 216 of 475 PageID #:2993
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 217 of 475 PageID #:2994
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 218 of 475 PageID #:2995
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 219 of 475 PageID #:2996
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 220 of 475 PageID #:2997
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 221 of 475 PageID #:2998
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 222 of 475 PageID #:2999
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 223 of 475 PageID #:3000
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 224 of 475 PageID #:3001
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 225 of 475 PageID #:3002
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 226 of 475 PageID #:3003
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 227 of 475 PageID #:3004
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 228 of 475 PageID #:3005
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 229 of 475 PageID #:3006
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 230 of 475 PageID #:3007
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 231 of 475 PageID #:3008
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 232 of 475 PageID #:3009
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 233 of 475 PageID #:3010
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 234 of 475 PageID #:3011
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 235 of 475 PageID #:3012
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 236 of 475 PageID #:3013
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 237 of 475 PageID #:3014
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 238 of 475 PageID #:3015
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 239 of 475 PageID #:3016
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 240 of 475 PageID #:3017
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 241 of 475 PageID #:3018
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 242 of 475 PageID #:3019
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 243 of 475 PageID #:3020
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 244 of 475 PageID #:3021
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 245 of 475 PageID #:3022
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 246 of 475 PageID #:3023
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 247 of 475 PageID #:3024
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 248 of 475 PageID #:3025
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 249 of 475 PageID #:3026
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 250 of 475 PageID #:3027
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 251 of 475 PageID #:3028
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 252 of 475 PageID #:3029
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 253 of 475 PageID #:3030
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 254 of 475 PageID #:3031
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 255 of 475 PageID #:3032
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 256 of 475 PageID #:3033
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 257 of 475 PageID #:3034
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 258 of 475 PageID #:3035
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 259 of 475 PageID #:3036
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 260 of 475 PageID #:3037
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 261 of 475 PageID #:3038
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 262 of 475 PageID #:3039
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 263 of 475 PageID #:3040
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 264 of 475 PageID #:3041
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 265 of 475 PageID #:3042
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 266 of 475 PageID #:3043
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 267 of 475 PageID #:3044
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 268 of 475 PageID #:3045
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 269 of 475 PageID #:3046
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 270 of 475 PageID #:3047
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 271 of 475 PageID #:3048
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 272 of 475 PageID #:3049
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 273 of 475 PageID #:3050
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 274 of 475 PageID #:3051
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 275 of 475 PageID #:3052
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 276 of 475 PageID #:3053
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 277 of 475 PageID #:3054
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 278 of 475 PageID #:3055
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 279 of 475 PageID #:3056
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 280 of 475 PageID #:3057
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 281 of 475 PageID #:3058
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 282 of 475 PageID #:3059
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 283 of 475 PageID #:3060
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 284 of 475 PageID #:3061
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 285 of 475 PageID #:3062
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 286 of 475 PageID #:3063
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 291 of 475 PageID #:3068
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 292 of 475 PageID #:3069
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 293 of 475 PageID #:3070
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 294 of 475 PageID #:3071
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 306 of 475 PageID #:3083
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 307 of 475 PageID #:3084
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 309 of 475 PageID #:3086
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 310 of 475 PageID #:3087
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 320 of 475 PageID #:3097
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 321 of 475 PageID #:3098
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 322 of 475 PageID #:3099
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 323 of 475 PageID #:3100
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 324 of 475 PageID #:3101
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 325 of 475 PageID #:3102
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 326 of 475 PageID #:3103
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 327 of 475 PageID #:3104
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 328 of 475 PageID #:3105
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 329 of 475 PageID #:3106
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 330 of 475 PageID #:3107
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 331 of 475 PageID #:3108
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 332 of 475 PageID #:3109
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 333 of 475 PageID #:3110
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 334 of 475 PageID #:3111
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 335 of 475 PageID #:3112
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 336 of 475 PageID #:3113
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 337 of 475 PageID #:3114
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 338 of 475 PageID #:3115
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 339 of 475 PageID #:3116
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 340 of 475 PageID #:3117
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 341 of 475 PageID #:3118
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 342 of 475 PageID #:3119
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 343 of 475 PageID #:3120
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 344 of 475 PageID #:3121
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 345 of 475 PageID #:3122
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 346 of 475 PageID #:3123
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 347 of 475 PageID #:3124
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 348 of 475 PageID #:3125
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 349 of 475 PageID #:3126
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 350 of 475 PageID #:3127
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 351 of 475 PageID #:3128
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 352 of 475 PageID #:3129
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 353 of 475 PageID #:3130
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 354 of 475 PageID #:3131
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 355 of 475 PageID #:3132
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 356 of 475 PageID #:3133
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 357 of 475 PageID #:3134
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 358 of 475 PageID #:3135
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 359 of 475 PageID #:3136
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 360 of 475 PageID #:3137
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 361 of 475 PageID #:3138
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 362 of 475 PageID #:3139
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 363 of 475 PageID #:3140
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 364 of 475 PageID #:3141
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 365 of 475 PageID #:3142
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 366 of 475 PageID #:3143
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 367 of 475 PageID #:3144
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 368 of 475 PageID #:3145
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 369 of 475 PageID #:3146
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 370 of 475 PageID #:3147
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 371 of 475 PageID #:3148
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 372 of 475 PageID #:3149
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 373 of 475 PageID #:3150
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 374 of 475 PageID #:3151
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 375 of 475 PageID #:3152
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 376 of 475 PageID #:3153
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 377 of 475 PageID #:3154
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 378 of 475 PageID #:3155
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 379 of 475 PageID #:3156
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 380 of 475 PageID #:3157
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 381 of 475 PageID #:3158
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 382 of 475 PageID #:3159
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 383 of 475 PageID #:3160
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 384 of 475 PageID #:3161
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 385 of 475 PageID #:3162
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 386 of 475 PageID #:3163
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 387 of 475 PageID #:3164
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 388 of 475 PageID #:3165
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 389 of 475 PageID #:3166
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 390 of 475 PageID #:3167
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 391 of 475 PageID #:3168
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 392 of 475 PageID #:3169
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 393 of 475 PageID #:3170
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 394 of 475 PageID #:3171
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 395 of 475 PageID #:3172
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 396 of 475 PageID #:3173
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 397 of 475 PageID #:3174
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 398 of 475 PageID #:3175
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 399 of 475 PageID #:3176
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 400 of 475 PageID #:3177
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 401 of 475 PageID #:3178
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 402 of 475 PageID #:3179
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 403 of 475 PageID #:3180
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 404 of 475 PageID #:3181
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 405 of 475 PageID #:3182
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 406 of 475 PageID #:3183
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 407 of 475 PageID #:3184
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 408 of 475 PageID #:3185
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 409 of 475 PageID #:3186
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 410 of 475 PageID #:3187
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 411 of 475 PageID #:3188
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 412 of 475 PageID #:3189
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 413 of 475 PageID #:3190
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 414 of 475 PageID #:3191
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 415 of 475 PageID #:3192
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 416 of 475 PageID #:3193
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 417 of 475 PageID #:3194
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 418 of 475 PageID #:3195
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 419 of 475 PageID #:3196
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 420 of 475 PageID #:3197
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 421 of 475 PageID #:3198
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 422 of 475 PageID #:3199
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 423 of 475 PageID #:3200
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 424 of 475 PageID #:3201
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 425 of 475 PageID #:3202
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 426 of 475 PageID #:3203
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 433 of 475 PageID #:3210
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 434 of 475 PageID #:3211
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 438 of 475 PageID #:3215
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 441 of 475 PageID #:3218
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 442 of 475 PageID #:3219
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 443 of 475 PageID #:3220
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 444 of 475 PageID #:3221
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Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 461 of 475 PageID #:3238
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 462 of 475 PageID #:3239
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 463 of 475 PageID #:3240
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 464 of 475 PageID #:3241
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 465 of 475 PageID #:3242
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 466 of 475 PageID #:3243
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 467 of 475 PageID #:3244
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 468 of 475 PageID #:3245
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 469 of 475 PageID #:3246
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 470 of 475 PageID #:3247
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 471 of 475 PageID #:3248
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 472 of 475 PageID #:3249
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 473 of 475 PageID #:3250
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 474 of 475 PageID #:3251
Case: 1:16-cv-06109 Document #: 108 Filed: 10/04/18 Page 475 of 475 PageID #:3252
